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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


IN RE MEDIA APPLICATION FOR
AUDIOVISUAL ACCESS TO TRIAL                      Case No. 23-mc-99-TSC
PROCEEDINGS IN UNITED STATES
OF AMERICA V. DONALD J. TRUMP


                 MOTION TO INTERVENE AND NOTICE OF JOINDER

       Pursuant to Rules 20(a)(1) and 24(b) of the Federal Rules of Civil Procedure and Local

Civil Rule 7(j), proposed intervenor Reuters News & Media Inc., by and through its undersigned

counsel, hereby moves to intervene in this matter and join the Media Coalition’s Application for

Audiovisual Access to Criminal Trial Proceedings in United States of America v. Donald J.

Trump, Case No. 23-cr-257-TSC, ECF No. 1 in the above-captioned matter.

                         MEET AND CONFER CERTIFICATION

       Undersigned counsel conferred by email on October 31, 2023, with counsel for the

United States, counsel for Trump, and counsel for NBCUniversal Media, LLC. Counsel for the

United States informed the undersigned that it does not oppose this Motion. Counsel for Trump

and counsel for NBCUniversal Media, LLC have not yet responded as of this filing.

       Dated: November 2, 2023            Respectfully submitted,

                                          BALLARD SPAHR LLP

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                             Counsel for Reuters News & Media Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of November, 2023, I caused true and correct copies

of the foregoing to be served via PACER/ECF on counsel of record, and via electronic mail and

U.S. Mail on the following:

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                                                    /s/ Charles D. Tobin
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